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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                        Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                             Judge M. Casey Rodgers
This Document Relates to:                    Magistrate Judge Gary R. Jones

________________________                     MASTER SHORT FORM
                                             COMPLAINT AND
PLAINTIFF(S),                                JURY TRIAL DEMAND

v.
                                             Civil Action No.: ________________
3M COMPANY, 3M
OCCUPATIONAL SAFETY LLC,
AEARO HOLDING LLC, AEARO
INTERMEDIATE LLC, AEARO LLC,
and AEARO TECHNOLOGIES LLC,

DEFENDANTS.


  MASTER SHORT FORM COMPLAINT AND JURY TRIAL DEMAND

      Plaintiff(s) incorporate(s) by reference the Master Long Form Complaint and

Jury Trial Demand filed in In re: 3M Combat Arms Earplug Products Liability

Litigation on September 20, 2019. Pursuant to Pretrial Order No. ______, this Short

Form Complaint adopts the allegations, claims, and requested relief as set forth in

the Master Long Form Complaint. As necessary herein, Plaintiff(s) may include:

(a) additional claims and allegations against Defendants, as set forth in Paragraphs

10 and 11 or an additional sheet attached hereto; and/or (b) additional claims and
                                                     Katherine Cornell,
                                                     Pulaski Law Firm, PLLC
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allegations against other Defendants not listed in the Master Long Form Complaint,

as set forth in Paragraphs 12 and 13 or an additional sheet attached hereto.

      Plaintiff(s) further allege(s) as follows:

I.    DEFENDANTS

      1.     Plaintiff(s) name(s) the following Defendants in this action:

             ✔   3M Company

             ✔
                 3M Occupational Safety LLC

             ✔   Aearo Holding LLC

             ✔   Aearo Intermediate LLC

             ✔   Aearo LLC

             ✔   Aearo Technologies LLC

II.   PLAINTIFF(S)

      2.     Name of Plaintiff:

             _________________________________________________
             Lance                           Willsey
             First                   Middle          Last

      3.     Name of spouse of Plaintiff (if applicable to loss of consortium
             claim):




      4.     Name and capacity (i.e., executor, administrator, guardian, conservator,
             etc.) of other Plaintiff, if any:




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           5.    State(s) of residence of Plaintiff(s):
                 New York




 III.      JURISDICTION

           6.    Basis for jurisdiction (diversity of citizenship or other):
                 Diversity of Citizenship



           7.    Designated forum (United States District Court and Division) in which
                 venue would be proper absent direct filing:




 IV.       USE OF DUAL-ENDED COMBAT ARMS EARPLUG

           8.    Plaintiff used the Dual-Ended Combat Arms Earplug:
                 ✔   Yes

                     No

 V.        INJURIES

           9.    Plaintiff alleges the following injuries and/or side effects as a result of
                 using the Dual-Ended Combat Arms Earplug:

                 ✔   Hearing loss

                     Sequelae to hearing loss

                 ✔   Other [specify below]
Tinnitus




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VI.   CAUSES OF ACTION

      10.   Plaintiff(s) adopt(s) in this Short Form Complaint the following claims
            asserted in the Master Long Form Complaint and Jury Trial Demand,
            and the allegations with regard thereto as set forth in the Master Long
            Form Complaint and Jury Trial Demand:

            ✔
                Count I – Design Defect – Negligence

            ✔   Count II – Design Defect – Strict Liability

            ✔   Count III – Failure to Warn – Negligence

            ✔   Count IV – Failure to Warn – Strict Liability

            ✔   Count V – Breach of Express Warranty

            ✔   Count VI – Breach of Implied Warranty

            ✔   Count VII – Negligent Misrepresentation

            ✔   Count VIII – Fraudulent Misrepresentation

            ✔   Count IX – Fraudulent Concealment

            ✔   Count X – Fraud and Deceit

            ✔   Count XI – Gross Negligence

            ✔   Count XII – Negligence Per Se

            ✔   Count XIII – Consumer Fraud and/or Unfair Trade

                Practices Count XIV – Loss of Consortium

            ✔   Count XV – Unjust Enrichment

            ✔   Count XVI – Punitive Damages




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         Count XVII – Other [specify below]




11.   If additional claims against the Defendants identified in the Master
      Long Form Complaint and Jury Trial Demand are alleged in Paragraph
      10, the facts supporting these allegations must be pleaded. Plaintiff(s)
      assert(s) the following factual allegations against the Defendants
      identified in the Master Long Form Complaint and Jury Trial Demand:




12.   Plaintiff(s) contend(s) that additional parties may be liable or
      responsible for Plaintiff(s)’ damages alleged herein. Such additional
      parties, who will be hereafter referred to as Defendants, are as follows
      (must name each Defendant and its citizenship):




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      13.    Plaintiff(s) assert(s) the following additional claims and factual
             allegations against other Defendants named in Paragraph 12:




      WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

Defendants and all such further relief that this Court deems equitable and just as set

forth in the Master Long Form Complaint and Jury Demand and any additional relief

to which Plaintiff(s) may be entitled.



Dated: ______________                     Katherine Cornell,
                                          Pulaski Law Firm, PLLC




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